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                                                          HONORABLE RICHARD A. JONES
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7                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
8                                      AT SEATTLE
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     ABDIQAFAR WAGAFE, et al.,                        No. 2:17-cv-00094-RAJ
10
                              Plaintiffs,             ORDER
11       v.
12
     DONALD TRUMP, PRESIDENT OF THE
13   UNITED STATES, et al.,
14
                              Defendants.
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              This matter comes before the Court on Plaintiffs’ Motion for Leave to File
18   Overlength Brief, Dkt. # 421, and Defendants’ request to file an opposition to Plaintiffs’
19   motion, Dkt. # 422. Dkt. Given the extraordinary nature of Plaintiffs’ request, the Court
20   hereby GRANTS Defendants’ motion to file an opposition and ORDERS Defendants to
21   file their response within 7 days from the date of this order.
22            DATED this 16th day of October, 2020.
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25                                                     A
26                                                     The Honorable Richard A. Jones
                                                       United States District Judge
27
28   ORDER – 1
